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 May 11, 2021

 Via Electronic Delivery
 Hon. Derrick K. Watson
 United States District Court
 District of Hawaii
 300 Ala Moana Blvd C-338
 Honolulu, HI 96850
 (808) 541-1300

       Re: Fatai v. City and County of Honolulu, et al., 1:19CV603

 Dear Judge Watson:

       Currently pending are motions to dismiss the Second Amended
 Complaint filed by the City Defendants in this matter. See Dkt. 104,
 Dkt. 104.1 These motions are presently set for hearing on June 4, 2021.
 Dkt. 106. Pursuant to Local Rule 7.2, Plaintiff’s responses in opposition
 to these motions are due tomorrow, May 12, 2021.

       Jennifer Brown is one of Plaintiff’s counsel in this matter and the
 original lead attorney that commenced this action. See Dkt. 1.
 Tragically, Ms. Brown’s father passed late last week, on Thursday, May
 6, 2021. As a result, Plaintiff seeks one additional week to complete his
 response to Defendants pending motions, that the June 4, 2021 hearing
 be briefly continued, and that the Defendants also receive a one week
 extension of time to file their replies. The parties agree to and stipulate
 to this relief.

      Understanding that June 11th is a state holiday, and having
 contacted this Court’s courtroom manager, the parties respectfully ask

 1This excludes Defendant Mark Kealoha who has yet to be served or
 appear in the case.
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 that the Court set the hearing at such time that is convenient for the
 Court, at any date after June 17, 2021, including June 18, 2021 or any
 other time that works for the Court.

       Finally, Plaintiff respectfully requests that he be allotted 10
 additional pages for each response to the motions to dismiss. The
 Defendants have no objection so long they are given a commiserate
 extension, which Plaintiff does not oppose.



                             Respectfully submitted:




                             David B. Owens

 CC: Counsel of Record
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